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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                              CASE NO.: 1:02-CR-024-SPM

GREGORY LINDSEY,

     Defendant.
________________________________/

      ORDER DENYING MOTION TO REDUCE UNDER 18 U.S.C. § 3582

       This cause comes before the Court on Defendant’s request for a sentence

reduction under the retroactive crack cocaine amendment (Amendments 706 and

711) and 18 U.S.C. § 3582(c) (doc. 425). The Government has filed a response

in opposition (doc. 426).

       Upon review, the Court finds that Defendant is not entitled to a sentence

reduction because application of the guideline amendment results in no change

to his sentencing range. Defendant’s offense involved more than 22 kilograms of

powder cocaine. Defendant’s sentencing calculation did not include any amount

of cocaine base attributed to Defendant. Therefore, because Defendant is not

affected by the crack cocaine amendment, he is not eligible for a sentence

reduction.
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      Accordingly, it is hereby ORDERED AND ADJUDGED that Defendant’s

request for a sentence reduction (doc. 425) is denied.

      DONE AND ORDERED this twenty-fourth day of July, 2008.




                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge




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